356 F.2d 510
    Fletcher WADE, Appellant,v.Raymond E. NEUMAN, Deputy Commissioner, Department of Labor,Bureau of Employee's Compensation of the SeventhCompansation District, et at., Appellees.
    No. 21901.
    United States Court of Appeals Fifth Circuit.
    Feb. 14, 1966.
    
      Frank S. Bruno, New Orleans, La., for appellant.
      N. B. Barkley, Jr., Charles Kohlmeyer, Jr., New .orleans, La., for T. Smith &amp; Son, Inc., Lemle &amp; Kelleher, New Orleans, La., of counsel.
      Gene S. Palmisano, Asst. U.S. Atty., Louis C. LaCour, U.S. Atty., for appellee Neuman; Charles Donahue, Sol. of Labor, Alfred H. Myers, George M. Lilly, Atty., U.S. Dept. of Labor, of counsel.
      Before GEWIN and COLEMAN, Circuit Judges, and McRAE, District Judge.
      PER CURIAM:
    
    
      1
      The appellant Wade is dissatisfied with a compensation order entered by the Deputy Commissioner pursuant to the Longshoremen's and Habor Workers' Compensation Act, 33 U.S.C.A. 901 et seq., and contends that he is entitled to additional compensation benefits and medical expenses.  The United States District Court for the Eastern District of Louisiana granted summary judgment sustaining the Commissioner.
    
    
      2
      The opinion of the District Court reflects a careful analysis of the record and the application of the proper legal standards in its review of the findings and conclusions entered by the Deputy Commissioner.  We agree with the District Court that the record presents sharp conflicts in the evidence requiring credibility resolutions.  There is substantial evidence to support the findings of the Commissioner.  O'Keeffe v. Smith Associates, 380 U.S. 359, 85 S.Ct. 1012, 13 L.Ed.2d 895 (1965); Todd Shipyards Corp v. Donovan, (5 Cir. 1962)  300 F.2d 741.
    
    
      3
      The judgment is affirmed.
    
    